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                EXH BIT
Message                                                                                                        Page 1 of 4
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Anna Levine

From:      Anna Levine
Sent:      Thursday, December 09, 2010 1:48 PM
To:        'Brenner, Wendy'
Subject: RE: Enyart: Proposal for Third Preliminary Injunction
I spoke further with Stephanie. She is willing to use NCBE's computer, provided she has adequate time
and support beforehand to ensure that the software is working and everything is set up, so that she does
not need to deal with technological issues in the middle of the examination week.

An alternative proposal that would address her concerns is that we largely keep to the terms of the
second preliminary injunction, but extend the time and support for set up prior to the examination:



      o NCBE makes its laptop available on Thursday, February 17, 2011 for inspection by Stephanie and
        a tech person of Stephanie's choice to make certain that the software is loaded in such a way that
        it works (that is, we get the computer to read something). Someone is available who has
        administrative privileges to alter programs on the laptop, if necessary.
      o NCBE makes its laptop available once again on Monday, February 21, 2011, for Stephanie to set
        up her peripherals at the same time that she sets up the peripherals for her own laptop that she will
        use for the written portion of the exam. From that time forward until Stephanie takes the MBE
        portion of the exam (on Saturday and Sunday, February 26 and 27, 2011) the NCBE laptop would
        remain set up with the peripherals. That is, there would be two laptops set up in the
        guarded examination room, and the desk with the laptop for the MBE would basically be moved
        into position at the end of the written exam and prior to the MBE portion of the exam.




Anna Levine, Staff Attorney
Disability Rights Advocates
2001 Center Street, Third Floor
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510 665 8644 (Tel)
510 665 8716 (TTY)
510 665 8511 (Fax)

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            Original Message
        From: Anna Levine
        Sent: Thursday, December 09, 2010 10:10 AM
        To: 'Brenner, Wendy'
        Subject: RE: Enyart: Proposal for Third Preliminary Injunction


        Hi Wendy,



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     I look forward to your call. Some preliminary thoughts:

     To be clear, the proposal is not for Stephanie to use her own computer, but rather a new laptop that she
     can pre-configure and will then donate to NCBE. The purpose of this is to avoid issues that may have been
     caused by interference from unrelated programs on NCBE's laptop, such as expired antivirus software, for
     which Stephanie and staff on site at the examination did not have administrative privileges. However, if
     there are absolutely no terms different from the second preliminary injunction to which NCBE will agree,
     then their might not be much room for discussion.

     Although the conveyance may have altered the message a bit, I hope that your second bullet point is
     encompassed by the paragraph at the end I added responsive to what I identified as (1). The wording you
     use in the second bullet point, however, is fine, and simpler, and we would be happy to use it.

     The third bullet point confuses me. If the Ninth Circuit affirms Breyer's preliminary injunction orders, but
     does so say, mid-February, Stephanie would have no time to get a preliminary injunction, even though the
     Ninth Circuit ruling would support her entitlement to one. Our client cannot agree to a stipulated injunction
     that potentially waives relief supported by both the district and appellate court. We can agree to a
     similar provision, but only if it makes the stipulated injunction go away in the event that the Ninth Circuit
     overturns Breyer's preliminary injunction orders, but does not make the injunction go away if the Ninth
     Circuit affirms Breyer's orders.




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                 Original Message
             From: Brenner, Wendy [mailto:BRENNERWJ©cooley.com ]
             Sent: Thursday, December 09, 2010 9:26 AM
             To: Anna Levine
             Subject: RE: Enyart: Proposal for Third Preliminary Injunction
             Hi Anna —

             I will call you later today to discuss. I am sure, however, that these terms will not be acceptable to
             NCBE. NCBE is not willing to permit Ms. Enyart to use her own computer for the exam for a variety
             of reasons.

             It sounds like Dan tried to convey our position on the stipulated injunction, but that the terms
             might not have been communicated precisely. To be clear, NCBE is willing to stipulate to an
             injunction for the February bar, provided:


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                 •     The injunction requirements are the same as the second preliminary injunction.
                 O     Ms. Enyart will not take the position that this stipulation moots the appeal.
                 ®     The injunction will be contingent on the fact that no ruling is received from the Ninth
                      Circuit prior to the test date. If the Ninth Circuit rules before the February bar date, then
                      the stipulated injunction goes away.

             Wendy Brenner
             Cooley LLP
             3175 Hanover Street
             Palo Alto, CA 94304-1130
             Direct: (650) 843-5371 Fax: (650) 849-7400


             From: Anna Levine [mailto:alevine@dralegal.org]
             Sent: Wednesday, December 08, 2010 4:20 PM
             To: Brenner, Wendy
             Subject: Enyart: Proposal for Third Preliminary Injunction

             Dear Wendy,

             Thank you for your message this afternoon. As I previously raised at the hearing on NCBE's motion
             for continuance last Friday, and discussed afterwards with Greg, Stephanie would like
             this third preliminary injunction to address technological problems that arose at the July and August
             2010 test administrations. Attached is a proposal aimed at addressing those problems.

             I understand from Dan Goldstein that NCBE, in turn, would like any stipulated preliminary injunction
             to include (1) an agreement that the stipulated injunction will not be used as evidence of their liability
             and (2) a provision that their agreement is void if the Ninth Circuit issues a decision before the
             February test administration.

             To address (1), I have inserted a paragraph at the end of the attached document, borrowing from
             language that we included, at NCBE's request, in the cover letter filed with the stipulated terms for
             the second preliminary injunction order. We would be glad to hear your suggestions regarding (2).

             I will be available by telephone all day tomorrow, and look forward to talking with you about this.
             Sincerely,


             Anna

             Anna Levine, Staff Attorney
             Disability Rights Advocates
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             Berkeley, California 94704-1204

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